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NOT FOR PUBLICATION

                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


SECURITIES AND EXCHANGE                        :    CIVIL ACTION NO. 16-16 19 (JLL)
COMMISSION,

      Plaintiff,                                             OPINION & ORDER

      V.


GUY GENTILE,

      Defendant.


LINARES, Chief District Judge

      IT APPEARING THAT:

       1.     The plaintiff, the Securities and Exchange Commission (hereinafter, “the

SEC”), brought this civil action in March 2016 against the defendant, Guy Gentile. (ECF

No. 1.) The SEC alleged that Gentile engaged in conduct that violated several provisions

of the Securities Act, the Exchange Act, and SEC Rule l0b-5. (Id.)

       2.     For relief, the SEC sought to: (a) enjoin Gentile from violating the

Securities Act, the Exchange Act, and SEC Rule lOb-5; (b) disgorge ill-gotten gains

received “as a result of the conduct alleged [in the complaint]”; (c) levy civil monetary

penalties; and (d) penuanently prohibit Gentile from participating in any offering of

penny stocks. (ECF No. 1 at 23—24.)

       3.     Gentile was also indicted in March 2016 for nearly the same conduct. See

United States v. Gentile, Crirn. No. 16-155, ECF No. 1.
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       4.     In January 2017, this Court granted Gentile’s motion to dismiss the

indictment in the criminal matter based on statute-of-limitations grounds. See United

States v. Gentile, 235 F. Supp.3d 649 (D.N.J. Jan. 30, 2017). The Government initially

filed a notice of appeal from that dismissal, but ultimately decided not to pursue the

appeal. See United States v. Gentile, Crim. No. 16-155, ECF Nos. 34—37.

       5.     Gentile now moves pursuant to Federal Rule of Civil Procedure

(hereinafter, “Rule”) 12(b)(6) to dismiss the complaint in the civil action. (ECF No. 34

through ECF No. 34-14.) The Court resolves the motion to dismiss upon a review of the

papers and without oral argument. See L. Civ. R. 78.1(b).

       6.     The SEC, in opposition to the motion to dismiss, states that it “has

determined at this time, and on the facts now known to it, not to pursue [many of] its

claims” that are asserted against Gentile in the complaint. (ECF No. 38 at 16 n.5; see

also id. at 37 (the SEC stating that it “has determined not to pursue [certain] claims   .




on the facts known to it now and alleged in its Complaint”).) In addition, in its

opposition brief, the SEC raises examples concerning certain conduct that Gentile has

engaged in after January 2017 that are not asserted in the complaint. (Id. at 17—18; id. at

28; ECF No. 37 at 5—6.)

       7.     Thus, the SEC seeks to proceed in this case based upon claims and factual

allegations that: (a) have been withdrawn; (b) are not asserted in the complaint, and are

being raised for the first time in response to the motion to dismiss; or (c) are hopelessly

intertwined with the claims and allegations that have been withdrawn.




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       8.     As a result, the Court is being asked to engage in the task of addressing a

motion that has been made pursuant to Rule 12(b)(6) to dismiss a complaint for failure to

state a claim, but the Court does not have the benefit of a straightforward complaint to

refer to in determining whether a claim has been stated. It would be improper for the

Court to engage in such a task.

       9.     The Court may exercise “its inherent power to control its docket so as to

promote fair and efficient adjudication.” Rob v. Gen. Dei’. Corp., 949 F.2d 695, 702 (3d

Cir. 1991); see also Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (discussing “the

power inherent in every court to control the disposition of the causes on its docket with

economy of time and effort for itself, for counsel, and for litigants”).

       10.    Therefore, the Court administratively terminates Gentile’s motion to

dismiss without prejudice, and directs the SEC to clarify exactly which allegations and

claims are still viable by filing an amended complaint by October 6, 2017. Indeed, the

SEC appears to admit that it should have filed an amended complaint at this juncture.

(ECF No. 38 at 34 n.18 (the SEC stating that the Court may determine that the allegations

asserted in the complaint are deficient, and that it would be appropriate for the Court to

grant leave to replead).) Furthermore, the SEC will file an amended complaint without

moving for leave to do so before the Magistrate Judge.

       11.    When the SEC files the amended complaint, Gentile may move again to

dismiss the claims asserted therein, if appropriate.




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       IT IS THEREFORE on this           L.          day of September, 2017, ORDERED

that the defendant’s motion to dismiss the complaint (ECF No. 34) is administratively

terminated without prejudice; and it is further

       ORDERED that the plaintiff is DIRECTED to file an amended complaint, in a

manner that is consistent with this Court’s Opinion and Order, by October 6, 2017; and it

is further

       ORDERED that the defendant is granted leave to move to dismiss the

forthcoming amended complaint when it is filed, if appropriate.




                                                  JOS ./INARES
                                                  Cge, United States District Court




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